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UNITED STATES DISTRICT COURT

for the
EASTERN DISTRICT OF WISCONSIN
In the Matter of the Search of

information associated with Facebook user ID Case Number: ] | - a 3 NA (ns)

https://www.facebook.com/richard.garner. 18062,
Facebook ID 100038665373656, which is stored
at premises owned, maintained, controlled, or
operated by Facebook, Inc.

APPLICATION & AFFIDAVIT FOR SEARCH WARRANT

I, Kellen J. Williams, a federal law enforcement officer, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin there is now concealed:
See Attachment B

The basis for the search warrant under Fed. R. Crim. P. 41(c) is (check one or more):
¥ evidence of a crime;
Crontraband, fruits of a crime, or other iterns illegally possessed;
Y property designed for use, intended for use, or used in committing a crime;
Qa person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Title 21, United States Code, Sections 841(a)(1) and 846.

The application is based on these facts:
¥ Continued on the attached sheet, which is incorporated by reference.
¥ Delayed notice of 180 days (give exact ending date if more than 30 days: 02/24/2020) is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

CE eo

ELLEN J. WLIAMS
Special Agent, Drug Enforcement Administration

SwornAo before me, gnd signed in my presence,
Dat 2019

City and state: Milwaukee, Wisconsin

     

THE HONORABL CY JOSEPH
United States Magistnffe Judge

Name & Title of Judicial Officer

 

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Kellen J. Williams, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

I I make this affidavit in support of an application for a search warrant under 18
U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), and Rule 41 of the Federal Rules of
Criminal Procedure for information about Facebook account under the name “Richard Garner”,
with a Facebook identification address of https://www.facebook.com/richard.garner. 18062,
Facebook ID 100038665373656 (“Target Account”), whose provider is Facehook, a social
networking company headquartered in Menlo Park, California. The Target Account is
described herein, and in Attachment A, and the location information to be seized is described
herein, and in Attachment B.

2. | have been employed as a Special Agent with the Drug Enforcement
Administration (“DEA”) since Septemher 2012. I am currently assigned to the DEA Milwaukee
District Office, High Intensity Drug Trafficking Area (“HIDTA”). As such, I am an
investigative or law enforcement officer of the United States within the meaning of Section
2510(7) of Title 18, United States Code, in that I am empowered by law to conduct
investigations of and to make arrests for federal felony offenses.

ay I have participated in numerous complex narcotics investigations which involved
violations of state and federal controlled substances laws and money laundering laws including
Title 21, United States Code, Sections 841(a)(1), 843(b) and 846, and Title 18, United States

Code, Sections 1956 and 1957, and other related offenses. | have had both formal training and

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4, Tam currently paneieting in an investigation of a drug trafficking organization
(“DTO”) operating in the Milwaukee, Wisconsin area. According to confidential source
information, this DTO sends large amounts of fentanyl and heroin from California to Milwaukee,
Wisconsin and other U.S. based destinations. The drug proceeds are then sent back to California
to be delivered to unknown sources of supply.

a, Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 21, United States Code, Sections 841 and 846 have been committed, are being
committed, and will be committed by Richard GARNER using Facebook account
https://www.facebook.com/richard.garner.18062, Facebook ID 100038665373656 (“Target
Account”), and others not yet identified. There is also probable cause to believe that the
location information described in Attachment B will constitute evidence of these criminal
violations, and will lead to the identification of individuals who are engaged in the commission
of these offenses.

Background of Investigation

6. In July 2019, a confidential source (CS) contacted case agents and stated s/he was
contacted recently on Facebook Messenger by Richard GARNER (“GARNER”), using
Facebook account _https://www.facebook.com/richard.garner. 18062, Facebook ID
100038665373656 (“Target Account”). On July 18, 2019, GARNER sent the following
message via Facebook Messenger from the Target Account to the CS: “Call Chicc
3235575699”. The CS stated “Chicc” or “Big Chicc” is a nickname for GARNER.

ha Case agents believe the CS’s information is credible and reliable for the following

reasons: the CS has given case agents detailed and corroborated information concerning

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St, Milwaukee, Wisconsin 53206.” The package was postmarked July 31, 2019 in Redondo
Beach, CA 90278. The postage paid was $14.35.

11. On August 2, 2019, Inspector Fink applied for and received a federal search
warrant for the package. The search warrant was issued by United States Mapistrate Judge
Nancy Joseph in the Eastern District of Wisconsin. Upon executing the search warrant of the
package, Inspector Fink discovered one bag containing a white powdery substance wrapped in
several layers of saran wrap. Inspector Fink field tested the substance which field tested positive
for fentanyl. The suspected fentanyl had a gross weight of approximately 1127 grams.

12. During subsequent analysis and follow up related to the package, Inspector Fink
discovered similar packages sent from California to Michigan and Louisiana. The packages all
had a hand-written label similar to the hand-written label on the package seized in Milwaukee.
The packages mailed to Michigan and Louisiana, however, were already delivered.
Additionally, case agents have developed information that GARNER has sent packages
containing suspected fentanyl/heroin to Ohio.

13. As noted above, GARNER used the Target Account to contact the CS in
furtherance of GARNER’s drug-trafficking activities. Furthermore, case agents believe
GARNER uses the Target Account to contact other co-conspirators in furtherance of the
organization.

14. | Facebook owns and operates a free-access social networking website of the same
name that can be accessed at http://www.Facebook. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other information with other Facebook users, and sometimes with the

general public.

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available elsewhere on the Internet. Facebook users can also post information about upcoming
“events,” such as social occasions, by listing the event’s time, location, host, and guest list. In
addition, Facebook users can “check in” to particular locations or add their geographic locations
to their Facebook posts, thereby revealing their geographic locations at particular dates and
times. A particular user’s profile page also includes a “Wall,” which is a space where the user
and his or her “Friends” can post messages, attachments, and links that will typically be visible
to anyone who can view the user’s profile.

19. Facebook allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or video. It
also provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video.
When a user is tagged in a photo or video, he or she receives a notification of the tag and a link
to see the photo or video. For Facebook’s purposes, the photos and videos associated with a
user’s account will include all photos and videos uploaded by that user that have not been
deleted, as well as all photos and videos uploaded by any user that have that user tagged in them.

20. | Facehook users can exchange private messages on Facebook with other users.
Those messages are stored by Facebook unless deleted by the user. Facebook users can also post
comments on the Facebook profiles of other users or on their own profiles; such comments are
typically associated with a specific posting or item on the profile. In addition, Facebook has a
chat feature that allows users to send and receive instant messages through Facebook Messenger.
These chat communications are stored in the chat history for the account. Facebook also has
Video and Voice Calling features, and although Facebook does not record the calls themselves, it
does keep records of the date of each call.

er, If a Facebook user does not want to interact with another user on Facebook, the

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would show when and from what IP address the user did so.

28. Social networking providers like Facebook typically retain additional information
about their users’ accounts, such as information about the length of service (including start date),
the types of service utilized, and the means and source of any payments associated with the
service {including any credit card or bank account number). In some cases, Facebook users may
communicate directly with Facebook about issues relating to their accounts, such as technical
problems, billing inquiries, or complaints from other users. Social networking providers like
Facebook typically retain records about such communications, including records of contacts
between the user and the provider’s support services, as well as records of any actions taken by
the provider or user as a result of the communications.

29. As explained herein, information stored in connection with a Facebook account
may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
conduct under investigation, thus enabling the United States to establish and prove each element
or alternatively, to exclude the innocent from further suspicion. In my training and experience, a
Facebook user’s IP log, stored electronic communications, and other data retained by Facebook,
can indicate who has used or controlled the Facebook account. This “user attribution” evidence
is analogous to the search for “indicia of occupancy” while executing a search warrant at a
residence. For example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may be
evidence of who used or controlled the Facebook account at a relevant time. Further, Facebook
account activity can show how and when the account was accessed or used. For example, as
described herein, Facebook logs the Internet Protocol (IP) addresses from whieh users access

their accounts along with the time and date. By determining the physical location associated

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CONCLUSION
32. Based on the forgoing, I request that the Court issue the proposed search warrant.
33. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)1)(A) &
(c)(1)(A). Specifically, the U.S. District Court for the Eastern District of Wisconsin is “a district
court of the United States . . . that — has jurisdiction over the offense being investigated.” 18
U.S.C. § 2711(3)(A)().
34. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not
required for the service or execution of this warrant.
REQUEST FOR SEALING
35. I further request that the Court order that all papers in support of this application,
including the affidavit and search warrant, be sealed until further order of the Court. These
documents discuss an ongoing criminal investigation that is neither public nor known to all of
the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

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ATTACHMENT B

Particular Things to be Seized

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, Inc. (“Facebook”), regardless of whether such information is

located within or outside of the United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each Facebook account listed in Attachment A:

(a)

(b)

(c)

(d)

All contact and personal identifying information for the following Facebook user
ID:

https://www.facebook.com/richard.garner.18062, Facebook ID 100038665373656
All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities from January 1, 2019 to August 28, 2019;

All photos and videos uploaded by the user IDs and all photos and videos
uploaded by any user that have that user tagged in them from January 1, 2019 to
August 28, 2019, including Exchangeable Image File (“EXIF”) data and any other
metadata associated with those photos and videos;

All profile information, News Feed information; status updates; videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including
the friends’ Facebook user identification numhers; groups and networks of which
the user i a member, including the groups’ Facebook group identification

numbers; future and past event postings; rejected “Friend” requests; comments;

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(p) All privacy settings and other account scttings, including privacy settings for
individual Facebook posts and activitics, and all records showing which facebook
user has been blocked by the accounts;

(q} All records pertaining to communications between Facebook and any person
regarding the user or the user's Facebook account, including contacts with support
services and records of actions taken.

Facebook is hercby ordered to disclose the above information to the government by

Septemher 12, 2019 or 14 days of service of this warrant.

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